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·1· · · · · · · · UNITED STATES DISTRICT COURT
· · · · · · · · ·NORTHERN DISTRICT OF CALIFORNIA
·2· · · · · · · · · · · SAN JOSE DIVISION

·3· · · · · · ·Civil Action No.:· 11-CV-01846-LHK

·4
· · ·APPLE, INC., a California corporation,
·5
· · · · · · · Plaintiff,
·6

·7· ·vs.

·8· ·SAMSUNG ELECTRONICS CO., LTD.,
· · ·a Korean business entity;
·9· ·SAMSUNG ELECTRONICS AMERICA, INC.,
· · ·a New York corporation; and
10· ·SAMSUNG TELECOMMUNICATIONS AMERICA, LLC,
· · ·a Delaware limited liability company,
11· · · · · · Defendants.
· · ·___________________________________/
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15· · · · · · · · ·*** HIGHLY CONFIDENTIAL ***
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17· · · · · · ·VIDEOTAPED PERSONAL DEPOSITION OF:

18· · · · · · · · · · · · GEE-SUNG CHOI

19

20

21· · · · · · · · · ·Tuesday, April 17, 2012
· · · · · · · · · · · · · ·Kim & Chang
22· · · · · · · · · · ·Seoul, South Korea
· · · · · · · · · · ·1:24 p.m. to 6:24 p.m.
23

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           ·1· · · · · · · P R O C E E D I N G S

           ·2· · · · · · · · · · ·-· -· -

01:24:28   ·3· · · ·VIDEOGRAPHER:· My name is Inga Kornev, a

01:24:30   ·4· ·videographer with American Realtime Court

01:24:32   ·5· ·Reporters/Asia.

01:24:33   ·6· · · ·The date today is April 17th, 2012.· And the

01:24:36   ·7· ·time on the video monitor is 1:24.

01:24:40   ·8· · · ·This deposition is being held at the

01:24:43   ·9· ·Renaissance Hotel in Seoul, South Korea.

01:24:47   10· · · ·The caption of this case is Apple, Inc.

01:24:49   11· ·versus Samsung Electronics Co., held in the

01:24:54   12· ·United States District Court, Northern District

01:24:57   13· ·of California, San Jose Division, with a civil

01:25:00   14· ·action number of 11-CV-01846-LHK.

01:25:08   15· · · ·The name of the witness today is Gee-Sung

01:25:13   16· ·Choi, testifying in his individual capacity.

01:25:16   17· · · ·The court reporter today is Tracey LoCastro,

01:25:18   18· ·also with American Realtime Court

01:25:19   19· ·Reporters/Asia.

01:25:19   20· · · ·At this time I would like to ask all counsel

01:25:24   21· ·and interpreters and all present to please state

01:25:27   22· ·their appearances and whom they represent for

01:25:29   23· ·the record.· And please speak up.

01:25:32   24· · · ·MR. MCELHINNY:· My name is Harold McElhinny.

01:25:35   25· ·I'm here as an attorney for Apple, Inc., and I


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01:25:37   ·1· ·represent the plaintiff in these actions.

01:25:39   ·2· · · ·MR. CHUNG:· Minn Chung from Morrison and

01:25:41   ·3· ·Foerster for Apple.

01:25:45   ·4· · · ·MS. STEPHANIE KIM:· Stephanie Kim from

01:25:46   ·5· ·Morrison and Foerster for Apple.

01:25:48   ·6· · · ·MR. HALL:· Scott Hall from Quinn Emanuel for

01:25:51   ·7· ·Samsung.

01:25:52   ·8· · · ·MR. ZELLER:· Mike Zeller for Samsung.

01:25:54   ·9· · · ·MR. QUINN:· John Quinn representing Samsung

01:25:56   10· ·and the witness, Mr. Choi.

01:25:59   11· · · ·VIDEOGRAPHER:· All others, please state

01:26:00   12· ·their name for the record.

01:26:00   13· · · ·MR. BRIAN KIM:· Brian Kim, Samsung inhouse.

01:26:05   14· · · ·MR. KIJOONG KANG:· Kijoong Kang, Samsung

01:26:06   15· ·inhouse.

01:26:06   16· · · ·LEAD INTERPRETER:· Albert S. Kim,

01:26:07   17· ·interpreter of record.

01:26:09   18· · · ·CHECK INTERPRETER:· Ann Park, check

01:26:10   19· ·interpreter.

01:26:11   20· · · ·MR. MCELHINNY:· This is a stipulation that

01:26:17   21· ·I've been given that I understand that we both

01:26:19   22· ·will join in.

01:26:20   23· · · ·It says:· We understand the court reporter

01:26:22   24· ·is not authorized to administer oaths in this

01:26:25   25· ·venue; nevertheless, we request that she


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01:26:29   ·1· · · · ·administer the oaths, and we stipulate that we

01:26:29   ·2· · · · ·waive any objection to the validity of the

01:26:31   ·3· · · · ·deposition based on the oaths.

01:26:32   ·4· · · · · · ·MR. QUINN:· That is fine.

           ·5· · · · · · ·COURT REPORTER:· Do you solemnly swear or

           ·6· · · · ·affirm that you will well and truly interpret

           ·7· · · · ·the questions propounded by counsel and the

           ·8· · · · ·answers given by the witness from Korean to

           ·9· · · · ·English and English to Korean to the best of

01:26:46   10· · · · ·your ability?

01:26:46   11· · · · · · ·LEAD INTERPRETER:· I do.

01:26:46   12· · · · · · ·CHECK INTERPRETER:· Yes, I do.

01:26:46   13· · · · · · · · · · · GEE-SUNG CHOI,

01:26:46   14· ·after having been duly sworn by the reporter, pursuant

01:26:46   15· ·to stipulation of counsel, was examined and testified

01:27:02   16· ·through the interpreter as follows:

01:27:02   17· · · · · · ·THE WITNESS:· I do.

01:27:02   18· · · · · · · · · · · · ·EXAMINATION

01:27:02   19· ·BY MR. MCELHINNY:

01:27:06   20· · · ·Q.· · Good afternoon, Vice-Chairman Choi.· As you

01:27:09   21· ·may have heard, my name is Harold McElhinny.· I'm with

01:27:13   22· ·the law firm of Morrison and Foerster and I'm

01:27:15   23· ·representing Apple, and I'm going to ask you some

01:27:17   24· ·questions this afternoon.

01:27:33   25· · · · · · ·Sir, have you ever given testimony under


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01:46:18   ·1· · · ·Q.· · Thank you.

01:46:28   ·2· · · ·A.· · And in terms of those units that belong

01:46:32   ·3· ·under his auspices, those would be Mobile

01:46:34   ·4· ·Communications, Telecom Systems, IT Solutions and

01:46:39   ·5· ·Digital Imaging.

01:46:41   ·6· · · ·Q.· · Thank you.

01:46:43   ·7· · · · · · ·Today does Samsung Electronics have a

01:46:46   ·8· ·business unit which is referred to as System LSI?

01:47:02   ·9· · · ·A.· · Yes, there is a business division called

01:47:05   10· ·System LSI within Semiconductor.

01:47:09   11· · · ·Q.· · And so today that would --

01:47:10   12· · · ·A.· · The Semiconductor Business Unit.

01:47:13   13· · · ·Q.· · And today that would report up through

01:47:18   14· ·Mr. Kwon; is that correct?

01:47:22                  Yes, that is correct.
           15· · · ·A.· · Yes,

01:47:23   16· · · ·Q.· · And is it correct that my client Apple is a

01:47:28   17· ·customer of the System LSI division?

01:47:41   18· · · ·A.· · That is correct.

01:47:42   19· · · ·Q.· · Is Apple the largest customer of the System

01:47:46   20· ·LSI division?

01:47:50   21· · · ·A.· · Of the System LSI division, I perhaps would

01:48:01   22· ·believe so.
               ·believe   .

01:48:03   23· · · · · · ·MR. QUINN:· At this point I'm going to

01:48:05   24· · · · ·designate this entire transcript as being highly

01:48:08   25· · · · ·confidential and attorneys' eyes only under the


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01:48:11   ·1· · · · ·terms of the protective order in this case.

01:48:25   ·2· ·BY MR. MCELHINNY:

01:48:26   ·3· · · ·Q.· · Do you know, sir, approximately, what the

01:48:29   ·4· ·volume of business in U.S. dollars was that Apple did

01:48:32   ·5· ·with the System LSI division last year?

01:48:36   ·6· · · · · · ·MR. QUINN:· Vague and ambiguous as to volume

01:48:39   ·7· · · · ·of business.

01:49:06   ·8· · · ·A.· · Well, if you want me to state it in dollars

01:49:09   ·9· ·I will try, but I don't know as to the exact amount.

01:49:09   10· ·BY MR. MCELHINNY:

01:49:12   11· · · ·Q.· · Fair enough.

01:49:12   12· · · · · · ·There have been reports that Apple paid

01:49:15                                                    year.
                                                                . Do
           13· ·Samsung in excess of 8 billion dollars last year.·

01:49:18   14· ·you know whether that is accurate or not?

01:49:20   15· · · · · · ·MR. QUINN:· I object to the preamble to the

01:49:22   16· · · · ·question, assumes facts not in evidence.

01:49:28   17· · · · · · ·MR. MCELHINNY:· I'm going to rephrase the

01:49:29   18· · · · ·question.

01:49:29   19· ·BY MR. MCELHINNY:

01:49:31   20· · · ·Q.· · Did Apple pay Samsung in excess of 8 billion

01:49:34   21· ·dollars last year?
               ·dollars          ?

01:49:49   22· · · ·A.· · That I do not know for certain.

01:49:51   23· · · ·Q.· · Okay.· Sir, do you know whether or not in

01:49:56   24· ·doing business with System LSI Apple gives to that

01:50:03   25· ·Samsung business unit confidential Apple information?


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01:50:08   ·1· · · · · · ·MR. QUINN:· Vague and ambiguous.

01:50:32   ·2· · · ·A.· · No, there is no such event.

01:50:37   ·3· · · · · · ·In fact, the reason why we split up the

01:50:48   ·4· ·organization as we did was in order that there be no

01:50:52   ·5· ·cross sharing of such information so that there be no

01:50:55   ·6· ·such appearance as to any improprieties.

01:50:55   ·7· ·BY MR. MCELHINNY:

01:51:00   ·8· · · ·Q.· · Okay.· Which is my question.· First of all,

01:51:02   ·9· ·does Apple place orders with the System LSI division?

01:51:19   10· · · ·A.· · Well, I know that the division does business

01:51:21   11· ·with Apple.· I also know that Apple is a big customer

01:51:26   12· ·of ours.

01:51:28   13· · · ·Q.· · Within Samsung does Samsung treat the size

01:51:37   14· ·of the orders that Apple places as confidential

01:51:41   15· ·information?

01:51:52   16· · · · · · ·MR. QUINN:· Objection.· Lacks foundation.

01:52:17   17· · · ·A.· · The company happens to have a number of

01:52:20   18· ·clientele, and as a matter of principle, the company

01:52:22   19· ·does not disclose the amount of business it does with

01:52:25   20· ·each of such clientele.

01:52:25   21· ·BY MR. MCELHINNY:

01:52:28   22· · · ·Q.· · Does Apple -- does Samsung disclose to its

01:52:33   23· ·Mobile Communications Unit the size of the orders that

01:52:40   24· ·Apple has placed with its System LSI division?

01:52:45   25· · · · · · ·MR. QUINN:· Counsel, I've listened as you've


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01:52:48   ·1· · ·asked a few questions in this area, and so far

01:52:50   ·2· · ·as I'm aware, this is completely irrelevant to

01:52:52   ·3· · ·any issue in this case.· We're here for a short

01:52:58   ·4· · ·period of time and I'm just wondering if you can

01:53:01   ·5· · ·explain to us the relevance of these inquiries.

01:53:54   ·6· ·A.· · The company, as a matter of principle --

01:53:56   ·7· · · · ·MR. QUINN:· Well, wait a minute.· Excuse me,

01:53:57   ·8· · ·excuse me.· I've asked counsel to clarify the

01:53:59   ·9· · ·relevance, and I'm waiting for an explanation.

01:54:02   10· · · · ·MR. MCELHINNY:· And you can wait because I'm

01:54:04   11· · ·not going to take the time on the record to

01:54:06   12· · ·explain it.· I'll take the answer.

01:54:08   13· · · · ·MR. QUINN:· In my understanding in this

01:54:11   14· · ·case, both sides have objected and refused to

01:54:14   15· · ·disclose sensitive, irrelevant information.· And

01:54:19   16· · ·I've asked for an explanation about the

01:54:21   17· · ·relevance of this.· And as I understand it,

01:54:24   18· · ·Counsel, you're refusing to explain it; is that

01:54:26   19· · ·true?

01:54:27   20· · · · ·MR. MCELHINNY:· I'm not going to take the

01:54:28   21· · ·time on the record to explain the relevance.

01:54:32   22· · · · ·LEAD INTERPRETER:· Yes, and interjection by

01:54:35   23· · ·the interpreter.

01:54:35   24· · · · ·With due respect to both parties, in the

01:54:38   25· · ·absence of any instruction by Mr. Quinn, the


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01:54:42   ·1· · · · ·gentleman did offer an answer.· The interpreter

01:54:44   ·2· · · · ·was partially done with the interpretation.· He

01:54:46   ·3· · · · ·is under legal obligation to render the rest of

01:54:49   ·4· · · · ·it.· And, therefore, the interpreter would like

01:54:50   ·5· · · · ·to remain in sync with all parties, therefore,

01:54:53   ·6· · · · ·as to the answer by the witness.

01:54:55   ·7· · · ·A.· · As a matter of principle, the company does

01:54:57   ·8· ·not disclose such kind of information.

01:55:00   ·9· · · · · · ·LEAD INTERPRETER:· Now, as for Mr. Quinn's

01:55:02   10· · · · ·objection to the witness --

01:55:05   11· · · · · · ·MR. QUINN:· It was to the question.

01:55:08   12· · · · · · ·LEAD INTERPRETER:· Yes.

01:55:12   13· · · · · · ·(Colloquy was interpreted.)

01:56:11   14· · · · · · ·MR. QUINN:· If I may make inquiry of the

01:56:15   15· · · · ·interpreter whether the interpreter has

01:56:17   16· · · · ·interpreted my objection as well as

01:56:19   17· · · · ·Mr. McElhinny's response.

01:56:20   18· · · · · · ·LEAD INTERPRETER:· Yes.

01:56:20   19· · · · · · ·And if Mr. Quinn could indulge the

01:56:23   20· · · · ·interpreter and just allow the interpreter to

01:56:25   21· · · · ·finish one thing at a time.· Yes.

01:56:27   22· · · · · · ·MR. QUINN:· I apologize if I cut you off.

01:56:31   23· · · · ·I'll try to do better.

01:56:33   24· · · · · · ·LEAD INTERPRETER:· No problem at all.

01:56:33   25· ·BY MR. MCELHINNY:


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01:56:35   ·1· · · ·Q.· · Mr. Choi, during your career at Samsung,

01:56:37   ·2· ·were you ever the head of the Mobile Communications

01:56:40   ·3· ·Unit?

01:56:48   ·4· · · ·A.· · Yes.

01:56:53   ·5· · · ·Q.· · And during what period was that, sir?

01:57:09   ·6· · · ·A.· · It seems to me that that was from around the

01:57:12   ·7· ·end of 2006.· So in other words, starting in 2007

01:57:15   ·8· ·through about the end of 2008 for approximately a

01:57:20   ·9· ·two-year period of time.

01:57:21   10· · · ·Q.· · Sir, did you ever hold the position as head

01:57:27   11· ·of the design center at Samsung?
                                               ?

01:57:39   12· · · · · · ·MR. QUINN:· I have an objection.· It assumes

01:57:42   13· · · · ·facts not in evidence.· It's vague and

01:57:44   14· · · · ·ambiguous.

01:57:52   15· · · ·A.· · I have held the position as the head of the

01:58:00                                            .
           16· ·design center at one time or another.

01:58:00   17· ·BY MR. MCELHINNY:

01:58:04   18· · · ·Q.· · And first, does the design center still

01:58:08                                    ?
           19· ·exist at Samsung Electronics?

01:58:17   20· · · ·A.· · Yes.

01:58:20                                                            ?
           21· · · ·Q.· · And what -- who makes up the design center?

01:58:27   22· · · · · · ·MR. QUINN:· Vague and ambiguous.

01:58:39   23· · · ·A.· · Designers, most of them are designers.
                                                               .

01:58:39   24· ·BY MR. MCELHINNY:

01:58:41   25· · · ·Q.· · And is the design center within a particular


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06:23:57   ·1· · · ·Q.· · Why does Samsung seek to collect information

06:23:59   ·2· ·about its competitors' products?

06:24:09   ·3· · · · · · ·MR. MCELHINNY:· Beyond the scope.

06:24:12   ·4· · · ·A.· · That's in order to come up with a better

06:24:24   ·5· ·product in comparison to the competition out there from

06:24:29   ·6· ·a cost perspective, a quality perspective, a

06:24:32   ·7· ·performance perspective or usability perspective, every

06:24:34   ·8· ·perspective.

06:24:38   ·9· · · · · · ·MR. QUINN:· Nothing further.

06:24:42   10· · · · · · ·MR. MCELHINNY:· I have no further questions.

06:24:44   11· · · · · · ·VIDEOGRAPHER:· This marks the end of disc

06:24:46   12· · · · ·number 4 in the deposition of Gee-Sung Choi.

06:24:50   13· · · · ·Going off the record.· The time is 6:24.

           14

           15· · · · · · (Time noted:· 6:24 p.m.)

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